947 F.2d 943
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Thomas WESTCOTT, Plaintiff-Appellant,v.Elmanus HERNDON;  Mason W. Waters;  Olen C. Brake, Jr.;Ogle;  Ellis Williams, Co V;  Kenneth Sharp, CO III;  AllenFuller, CO III, individually and in their officialcapacities, Defendants-Appellees.
    No. 91-7086.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 6, 1991.Decided Oct. 28, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   M.J. Garbis, District Judge.  (CA-90-1722-MJG)
      James Thomas Westcott, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Stephanie Judith Lane-Weber, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before WIDENER, MURNAGHAN and NIEMEYER, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      James Thomas Westcott appeals from the district court's order denying relief under 42 U.S.C. § 1983.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Westcott v. Herndon, CA-90-1722-MJG (D.Md. Mar. 26, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    